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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION


UNITED STATES OF AMERICA

vs.                                                     Case No.1:08cr32-SPM

LEONEL ROMAN,

           Defendant.
_____________________________/


                 ORDER DENYING MOTION FOR SEVERANCE

       This cause comes before the Court on Defendant Leonel Roman’s

“Motion for Severance” (doc. 147) and the Government’s response (doc. 157).

Defendant contends that a severance is required under Zafiro v. United States

506 U.S. 534 (1993), because there is a serious risk that the overwhelming

evidence against Defendant Roman’s co-Defendants would consequently

prevent the jury from making a reliable judgment about the guilt or innocence of

Defendant Roman. This Court disagrees.

       Generally, defendants indicted together should be tried together,

particularly in conspiracy cases, which this case is. See United States v. Smith,

918 F.2d 1551, 1559 (11th Cir. 1990). If it appears that a defendant is prejudiced

by a joint trial with his co-defendants, however, the district court may sever the

trial of co-defendants or grant whatever other relief justice requires. See Fed. R.
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Crim. P. 14.

       "To justify severance, the defendant must demonstrate that a joint trial will

result in specific and compelling prejudice to the conduct of his defense." United

States v. Cobb, 185 F.3d 1193, 1197 (11th Cir. 1999) (citation and internal

quotations omitted). "Rule 14 does not require severance even if prejudice is

shown; rather, it leaves the tailoring of the relief to be granted, if any, to the

district court's sound discretion." Zafiro, 506 U.S. at 538-39. The”only two

circumstances in which severance is the only permissible remedy" is when there

is a serious risk that “a joint trial (1) ‘would compromise a specific trial right of one

of the defendants,’ or (2) would ‘prevent the jury from making a reliable judgment

about guilt or innocence.’” United States v. Browne, 505 F.3d 1229, 1269 (11th

Cir. 2007) (citing Zafiro, 506 U.S. at 539).

       In this case, to demonstrate the potential prejudice of a joint trial,

Defendant Roman simply refers to the volume of the evidence against the other

defendants as compared to the evidence against him. Roman argues that the

evidence against his co-defendants “substantially exceeds the Government’s

evidence against” Defendant Roman and that this disparity in evidence will

prejudice him and prevent him from having a fair trial. However, Defendant has

not sufficiently demonstrated that the jury will be unable to evaluate the evidence

against all of the Defendants independently. The mere volume of evidence

against certain defendants does not automatically prejudice a co-defendant. In


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this Court’s experience, juries are extremely capable of compartmentalizing the

evidence offered during trial and then applying the evidence to the different

defendants in the trial. Defendant Roman has not shown this Court that it is

mistaken in this observation and that there is a substantial risk that a joint trial will

result in specific and compelling prejudice to the conduct of Defendant Roman’s

defense. Accordingly, it is ORDERED AND ADJUDGED that Defendant

Roman’s “Motion for Severance” (doc. 147) is hereby denied.

       DONE AND ORDERED this tenth day of February, 2009.




                                       s/ Stephan P. Mickle
                                     Stephan P. Mickle
                                     United States District Judge




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